B1 (Official Form 1)Case
                     (04/13)   15-20714             Doc 1          Filed 06/15/15             Entered 06/15/15 14:25:18                        Desc Main
                                     UNITED STATES BANKRUPTCYDocument
                                                             COURT                            Page 1 of 42
                                                                                                                                     VOLUNTARY PETITION
                               NORTHERN DISTRICT OF ILLINOIS
                                  __________
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
Barron, Armando
 All Other Names used by the Debtor in the last 8 years                                        All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):

Armando Barron Cortes
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 4184, 0563                                                     (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                   Street Address of Joint Debtor (No. and Street, City, and State):
318 Locust #2
Elgin, Illinois
                                                         ZIP CODE                  60123                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                    County of Residence or of the Principal Place of Business:
KANE
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                 ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                    ZIP CODE
                           Type of Debtor                                       Nature of Business                           Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                       (Check one box.)                                            the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                          Health Care Business                         X     Chapter 7                  Chapter 15 Petition for
  X     Individual (includes Joint Debtors)                               Single Asset Real Estate as defined in             Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                             11 U.S.C. § 101(51B)                               Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                Railroad                                           Chapter 12                 Chapter 15 Petition for
        Partnership                                                       Stockbroker                                        Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check          Commodity Broker                                                              Nonmain Proceeding
        this box and state type of entity below.)                         Clearing Bank
                                                                          Other
                        Chapter 15 Debtors                                      Tax-Exempt Entity                                            Nature of Debts
 Country of debtor’s center of main interests:                               (Check box, if applicable.)                                     (Check one box.)
                                                                                                                       X   Debts are primarily consumer            Debts are
                                                                          Debtor is a tax-exempt organization              debts, defined in 11 U.S.C.             primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States              § 101(8) as “incurred by an             business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).                individual primarily for a
                                                                                                                           personal, family, or
                                                                                                                           household purpose.”
                                Filing Fee (Check one box.)                                                                    Chapter 11 Debtors
                                                                                               Check one box:
  X     Full Filing Fee attached.                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is         Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                   insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must               on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.         -----------------------------------
                                                                                               Check all applicable boxes:
                                                                                                   A plan is being filed with this petition.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                   of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
  X        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  X

 1-49          50-99          100-199           200-999    1,000-         5,001-          10,001-          25,001-           50,001-          Over
                                                           5,000          10,000          25,000           50,000            100,000          100,000

 Estimated Assets
  X

 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001     $10,000,001     $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10         to $50          to $100          to $500           to $1 billion    $1 billion
                                                million    million        million         million          million
 Estimated Liabilities
  X

 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001     $10,000,001     $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10         to $50          to $100          to $500           to $1 billion    $1 billion
                                                million    million        million         million          million
B1 (Official Form 1)Case
                     (04/13) 15-20714           Doc 1 Filed 06/15/15 Entered 06/15/15 14:25:18                                                    Desc Main
 Voluntary Petition                                          Document                Page
                                                                                       Name of2    of 42Barron, Armando
                                                                                                Debtor(s):
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                                              Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                                              Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                                              Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X       s//s/Stephanie K. Low                  June 15, 2015
                                                                                                    Signature of Attorney for Debtor(s)       (Date)



                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

  X     No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

   X   Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
               X       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
Case 15-20714   Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18   Desc Main
                          Document     Page 3 of 42
B1 (Official Form 1)Case
                     (04/13) 15-20714           Doc        1     Filed 06/15/15 Entered 06/15/15 14:25:18                                      Desc Main                     Page 3
 Voluntary Petition                                                Document     Page
                                                                                Name of 4 of 42 Barron, Armando
                                                                                        Debtor(s):
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    s/Armando Barron                                                                       X
      Signature of Debtor                   Armando Barron                                        (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      June 15, 2015                                                                               Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X    s//s/Stephanie K. Low                                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Stephanie K. Low                                                                       provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Serrano, Low & Hanson                                                                  guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
      431 Williamsburg Ave                                                                   or accepting any fee from the debtor, as required in that section. Official Form 19 is
      Geneva, Illinois 60134                                                                 attached.
      Address
      (630) 844-8781
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
      June 15, 2015
      Date
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                  state the Social-Security number of the officer, principal, responsible person or
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true   X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                           partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                             individual.
      Title of Authorized Individual
                                                                                             If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
          Case 15-20714          Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18                                      Desc Main
                                           Document     Page 5 of 42
B6A (Official Form 6A) (12/07)

In re Armando Barron,                                                                             Case No.
                                         Debtor                                                                         (If known)


                                  SCHEDULE A - REAL PROPERTY




                                                                                  Husband, Wife, Joint,
                                                                                                            CURRENT VALUE




                                                                                     or Community
                                                                                                              OF DEBTOR’S
                  DESCRIPTION AND                                                                             INTEREST IN     AMOUNT OF
                                                   NATURE OF DEBTOR’S
                    LOCATION OF                                                                           PROPERTY, WITHOUT    SECURED
                                                  INTEREST IN PROPERTY
                     PROPERTY                                                                               DEDUCTING ANY       CLAIM
                                                                                                            SECURED CLAIM
                                                                                                             OR EXEMPTION



 NONE


                                                                                Total ►                               $0.00


                                                  (Report also on Summary of Schedules.)
           Case 15-20714                    Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18                                           Desc Main
                                                      Document     Page 6 of 42
B 6B (Official Form 6B) (12/2007)

In re Armando Barron,                                                                                   Case No.
                                                    Debtor                                                                             (If known)


                                      SCHEDULE B - PERSONAL PROPERTY




                                                                                                            Joint, Or Community
                                                                                                                                    CURRENT VALUE OF




                                                                                                               Husband, Wife,
                                                N                                                                                 DEBTOR’S INTEREST IN
                                                O          DESCRIPTION AND LOCATION                                                PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                N                OF PROPERTY                                                         DEDUCTING ANY
                                                E                                                                                    SECURED CLAIM
                                                                                                                                      OR EXEMPTION


 1. Cash on hand.                               X

 2. Checking, savings or other financial            Elgin State Bank Checking Account ending in 2235                                                 $600.00
 accounts, certificates of deposit or shares
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


 3. Security deposits with public utilities,        security deposit paid to his current landlord Eulises                                            $750.00
 telephone companies, landlords, and                Raya
 others.


 4. Household goods and furnishings,                Tvs, Beds, dinner table, computer, Play station , Wii                                           $1,000.00
 including audio, video, and computer               game console and games
 equipment.


 5. Books; pictures and other art objects;          approx 100 music CDs                                                                             $100.00
 antiques; stamp, coin, record, tape,
 compact disc, and other collections or
 collectibles.


 6. Wearing apparel.                                debtors apparel                                                                                  $400.00



 7. Furs and jewelry.                           X

 8. Firearms and sports, photographic,
                                                X
 and other hobby equipment.

 9. Interests in insurance policies. Name
 insurance company of each
                                                X
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name each
                                                X
 issuer.

 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
           Case 15-20714                    Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18                      Desc Main
                                                      Document     Page 7 of 42
B 6B (Official Form 6B) (12/2007)

In re Armando Barron,                                                               Case No.
                                                    Debtor                                                        (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                             (Continuation Sheet)




                                                                                       Joint, Or Community
                                                                                                               CURRENT VALUE OF




                                                                                          Husband, Wife,
                                               N                                                             DEBTOR’S INTEREST IN
                                               O        DESCRIPTION AND LOCATION                              PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                               N              OF PROPERTY                                       DEDUCTING ANY
                                               E                                                                SECURED CLAIM
                                                                                                                 OR EXEMPTION



 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.        X
 Give particulars.

 13. Stock and interests in incorporated
                                               X
 and unincorporated businesses. Itemize.

 14. Interests in partnerships or joint
                                               X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable            X
 instruments.

 16. Accounts receivable.                      X

 17. Alimony, maintenance, support, and
 property settlements to which the debtor      X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor
                                               X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than      X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                               X
 benefit plan, life insurance policy, or
 trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and     X
 rights to setoff claims. Give estimated
 value of each.

 22. Patents, copyrights, and other
                                               X
 intellectual property. Give particulars.

 23. Licenses, franchises, and other
                                               X
 general intangibles. Give particulars.
           Case 15-20714                   Doc 1    Filed 06/15/15 Entered 06/15/15 14:25:18                                         Desc Main
                                                      Document     Page 8 of 42
B 6B (Official Form 6B) (12/2007)

In re Armando Barron,                                                                                  Case No.
                                                     Debtor                                                                          (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                  (Continuation Sheet)




                                                                                                          Joint, Or Community
                                                                                                                                  CURRENT VALUE OF




                                                                                                             Husband, Wife,
                                              N                                                                                 DEBTOR’S INTEREST IN
                                              O             DESCRIPTION AND LOCATION                                             PROPERTY, WITHOUT
         TYPE OF PROPERTY
                                              N                   OF PROPERTY                                                      DEDUCTING ANY
                                              E                                                                                    SECURED CLAIM
                                                                                                                                    OR EXEMPTION



 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                              X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.

 25. Automobiles, trucks, trailers, and              2004 Chevrolet Cavalier with 128k miles; titled                                              $1,756.00
 other vehicles and accessories.                     solely in debtor's name




                                                     2001 Suzuki Motorcycle with approximately 17,000                                             $1,800.00
                                                     miles




 26. Boats, motors, and accessories.          X

 27. Aircraft and accessories.                X

 28. Office equipment, furnishings, and
                                              X
 supplies.

 29. Machinery, fixtures, equipment, and
                                              X
 supplies used in business.

 30. Inventory.                               X

 31. Animals.                                 X

 32. Crops - growing or harvested. Give
                                              X
 particulars.

 33. Farming equipment and implements.        X

 34. Farm supplies, chemicals, and feed.      X

 35. Other personal property of any kind
                                              X
 not already listed. Itemize.


                                              2 continuation sheets attached         Total ►                                                      $6,406.00
                                                         (Include amounts from any continuation
                                                           sheets attached. Report total also on
                                                                 Summary of Schedules.)
           Case 15-20714              Doc 1       Filed 06/15/15 Entered 06/15/15 14:25:18                           Desc Main
                                                    Document     Page 9 of 42
 B6C (Official Form 6C) (04/13)

 In re Armando Barron,                                                                          Case No.
                             Debtor                                                                                    (If known)


                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                             $155,675.*
  11 U.S.C. § 522(b)(2)
  11 U.S.C. § 522(b)(3)


                                                                                                                          CURRENT
                                                                      SPECIFY LAW
                                                                                            VALUE OF CLAIMED         VALUE OF PROPERTY
                  DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                               EXEMPTION             WITHOUT DEDUCTING
                                                                       EXEMPTION
                                                                                                                         EXEMPTION

   2004 Chevrolet Cavalier with 128k miles; titled solely in       735 ILCS 5/12-
                                                                                                         $1,756.00                  $1,756.00
   debtor's name                                                   1001(c)

                                                                   735 ILCS 5/12-
   2001 Suzuki Motorcycle with approximately 17,000 miles                                                $1,800.00                  $1,800.00
                                                                   1001(b)

                                                                   735 ILCS 5/12-
   Elgin State Bank Checking Account ending in 2235                                                        $600.00                   $600.00
                                                                   1001(b)

                                                                   735 ILCS 5/12-
   security deposit paid to his current landlord Eulises Raya                                              $750.00                   $750.00
                                                                   1001(b)




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                Case 15-20714                Doc 1                 Filed 06/15/15 Entered 06/15/15 14:25:18                                               Desc Main
B 6D (Official Form 6D) (12/07)                                     Document     Page 10 of 42

In re ____________________________________,
      Armando Barron                                                                                               Case No. __________________________________
                                                   Debtor                                                                                 (If known)

                              SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
          □ X        Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                  HUSBAND, WIFE,




                                                                                                           UNLIQUIDATED
  CREDITOR’S NAME AND                                               DATE CLAIM WAS                                                   AMOUNT OF CLAIM                  UNSECURED




                                                                                              CONTINGENT
                                                   COMMUNITY
                                       CODEBTOR
     MAILING ADDRESS                                                   INCURRED,                                                         WITHOUT                      PORTION, IF

                                                    JOINT, OR




                                                                                                                          DISPUTED
 INCLUDING ZIP CODE AND                                             NATURE OF LIEN ,                                                 DEDUCTING VALUE                     ANY
   AN ACCOUNT NUMBER                                                      AND                                                         OF COLLATERAL
    (See Instructions Above.)                                         DESCRIPTION
                                                                     AND VALUE OF
                                                                       PROPERTY
                                                                    SUBJECT TO LIEN
ACCOUNT NO.




                                                                    VALUE $




____
  0 continuation sheets                                             Subtotal ►                                                       $                            $
     attached                                                       (Total of this page)
                                                                    Total ►                                                          $                            $
                                                                    (Use only on last page)
                                                                                                                                     (Report also on Summary of   (If applicable, report
                                                                                                                                     Schedules.)                  also on Statistical
                                                                                                                                                                  Summary of Certain
                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                  Data.)
               Case 15-20714             Doc 1       Filed 06/15/15 Entered 06/15/15 14:25:18                              Desc Main
                                                      Document     Page 11 of 42
B 6E (Official Form 6E) (04/13)

       In re
                 Armando Barron                                                        ,              Case No.
                                                             Debtor                                                       (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

X Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


                                                            1 continuation sheets attached
                                                           ____
               Case 15-20714                             Doc 1                              Filed 06/15/15 Entered 06/15/15 14:25:18                                                                                                        Desc Main
B 6E (Official Form 6E) (04/13) – Cont.
                                                                                             Document     Page 12 of 42

      Armando Barron
In re __________________________________________,                                                                                      Case No. _________________________________
                   Debtor                                                                                                                                (if known)


   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                               (Continuation Sheet)

                                                                                                     Domestic Support Obligations Type of Priority for Claims Listed on This Sheet

                                                                                                                                                                                                      -




                                                                                                                                                               UNLIQUIDATED
       CREDITOR’S NAME,                                                                             DATE CLAIM WAS                                                                                             AMOUNT                     AMOUNT                  AMOUNT




                                                                                                                                       CONTINGENT
                                                                        HUSBAND, WIFE,

                                                                         COMMUNITY
        MAILING ADDRESS                                                                              INCURRED AND                                                                                                OF                       ENTITLED                   NOT

                                                                          JOINT, OR




                                                                                                                                                                                         DISPUTED
      INCLUDING ZIP CODE,                                                                           CONSIDERATION                                                                                               CLAIM                        TO                   ENTITLED
                                                      CODEBTOR


     AND ACCOUNT NUMBER                                                                                FOR CLAIM                                                                                                                          PRIORITY                    TO
       (See instructions above.)                                                                                                                                                                                                                                 PRIORITY, IF
                                                                                                                                                                                                                                                                     ANY
                                           ————————
                                                             ————————


                                                                                         ————————




                                                                                                                            ————————

                                                                                                                                                    ————————

                                                                                                                                                                              ————————
                                                                                                                                                                                                ————————




                                                                                                                                                                                                                           ————————




                                                                                                                                                                                                                                                      ————————
———————————————
 Account No. 7-15                                                                             03/2015

Mirabella, Kincaid,
Frederick & Mirabella LLC                                                                    Guardian Ad
                                                                                                                                                                                                               $4,639.48                  $4,639.48                 $0.00
1737 S. Naperville Road                                                                      Litem for divorce
Suite 100                                                                                    case
Wheaton, IL 60189
——————————————————————————————————————————————————




            1 of ___
 Sheet no. ___     1 continuation sheets attached to Schedule                                                                       Subtotals'                                                             $      4,639.48 $                4,639.48                    $0.00
 of Creditors Holding Priority Claims                                                                                      (Totals of this page)

                                                                                                                                        Total'                                                             $      4,639.48
                                                                                                    (Use only on last page of the completed
                                                                                                    Schedule E. Report also on the Summary
                                                                                                    of Schedules.)

                                                                                                                                        Totals'                                                                                       $     4,639.48 $                   0.00
                                                                                                    (Use only on last page of the completed
                                                                                                    Schedule E. If applicable, report also on
                                                                                                    the Statistical Summary of Certain
                                                                                                    Liabilities and Related Data.)
B 6F (Official FormCase     15-20714
                   6F) (12/07)             Doc 1                               Filed 06/15/15 Entered 06/15/15 14:25:18                                                                               Desc Main
                                                                                Document     Page 13 of 42
         Armando Barron
   In re _________________________________________________________,                                                         Case No. _________________________________
                                           Debtor                                                                                                   (if known)
       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                               HUSBAND, WIFE,

                                                                                COMMUNITY
           CREDITOR’S NAME,                                                                                    DATE CLAIM WAS                                                                                                   AMOUNT OF




                                                                                                                                                                          UNLIQUIDATED
                                                                                 JOINT, OR




                                                                                                                                                 CONTINGENT
                                                        CODEBTOR
            MAILING ADDRESS                                                                                     INCURRED AND                                                                                                      CLAIM




                                                                                                                                                                                                     DISPUTED
          INCLUDING ZIP CODE,                                                                                CONSIDERATION FOR
         AND ACCOUNT NUMBER                                                                                         CLAIM.
               See instructions above.                                                                      IF CLAIM IS SUBJECT TO
                                                                                                               SETOFF, SO STATE.
                                            —————————

                                                                   —————————




                                                                                                —————————




                                                                                                                                     —————————


                                                                                                                                                              —————————

                                                                                                                                                                                         —————————

                                                                                                                                                                                                                —————————
      ACCOUNT NO. 3178                                                                                2010
      ————————————————
      Blitt & Gaines          Credit Card Charges   notice only.
      661 Glenn Ave                                  collections
      Wheeling, IL 60090
      Full Account No.: Kane                           attorney
      10SC491 & Kane 10sc3178
      ———————————————————————————————————————————————————
                                            —————————

                                                                   —————————




                                                                                                —————————




                                                                                                                                     —————————


                                                                                                                                                              —————————

                                                                                                                                                                                         —————————

                                                                                                                                                                                                                —————————
      ACCOUNT NO. 0670                                                                                2004-12
      ————————————————
                                                                                                      Credit Card Charges
      Capital One                                                                                                                                                                                                                  $4,362.00
      15000 Capital One Dr
      Richmond, VA 23238

      ———————————————————————————————————————————————————
                                            —————————

                                                                   —————————




                                                                                                —————————




                                                                                                                                     —————————


                                                                                                                                                              —————————

                                                                                                                                                                                         —————————

                                                                                                                                                                                                                —————————
      ACCOUNT NO.                                                                                     2011
      ————————————————
      Comcast Cable               General Services
      Communication                                 notice only
      Legal Dept
      One Comcast Centre
      Philadelphia, PA 19103-2838
      ———————————————————————————————————————————————————
                                            —————————

                                                                   —————————




                                                                                                —————————




                                                                                                                                     —————————


                                                                                                                                                              —————————

                                                                                                                                                                                         —————————

                                                                                                                                                                                                                —————————




      ACCOUNT NO. t 30                                                                                11/2014
      ————————————————
                                                                                                      Lodging
      Garden Quarter Apartments                                                                                                                                                                                                    $3,925.66
      15 Longwood Place
      Elgin, IL 60123

      ———————————————————————————————————————————————————



                                                                                                                                                                              Subtotal'                                     $       8,287.66
         2
       _____continuation sheets attached                                                                                                              Total'                                                                $
                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                          Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     15-20714
                   6F) (12/07) - Cont.       Doc 1                               Filed 06/15/15 Entered 06/15/15 14:25:18                                                                                 Desc Main
                                                                                  Document     Page 14 of 42
      Armando Barron
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
      ACCOUNT NO. 9085
      ————————————————
                                                                                                      collections for Capital One
      Lvnv Funding                                                                                    credit card                                                                                                                    $2,106.00
      Po Box 10497
      Greenville, SC 29603

      ———————————————————————————————————————————————————
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
      ACCOUNT NO. 9773                                                                                2009-06
      ————————————————
                                                                                                      collections for Washington
      Midland Funding                                                                                 Mutual Credit Card                                                                                                            $10,534.00
      8875 Aero Dr Ste 200
      San Diego, CA 92123

      ———————————————————————————————————————————————————
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
      ACCOUNT NO. 3776                                                                                2008-09
      ————————————————
                                                                                                      CreditCard
      Prsm/cbna                                                                                                                                                                                                                      $2,214.00
      Po Box 6497
      Sioux Falls, SD 57117

      ———————————————————————————————————————————————————
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————




      ACCOUNT NO. eyna                                                                                03/17/15
      ————————————————
      Pucci Pirtle LLC         Legal Services
      2205 Point Blvd
      Suite 130                                      $2,000.00
      Elgin, IL 60123
      Full Account No.: 14D155
      IRMO Reyna
      ———————————————————————————————————————————————————


        Sheet no. 1 of 2 continuation sheets attached                                                                                                                             Subtotal'                                   $      16,854.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     15-20714
                   6F) (12/07) - Cont.       Doc 1                               Filed 06/15/15 Entered 06/15/15 14:25:18                                                                                 Desc Main
                                                                                  Document     Page 15 of 42
      Armando Barron
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
      ACCOUNT NO. 0210                                                                                2011-09
      ————————————————
                                                                                                      CollectionAttorney
      Stellar Recovery Inc                                                                                                                                                                                                            $302.00
      4500 Salisbury Rd Ste 10
      Jacksonville, FL 32216

      ———————————————————————————————————————————————————
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
      ACCOUNT NO. , IL                                                                                2012
      ————————————————
      Target National Bank   Credit Card Charges
      3701 Wayzata Blvd
      Bankruptcy Dept.                              notice only
      Minneapolis, MN 55416
      Full Account No.: 2012
      SC3117 Kane, IL
      ———————————————————————————————————————————————————
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


                                                                                                                                                                                           —————————


                                                                                                                                                                                                                  —————————
      ACCOUNT NO. 5785                                                                                1999-08
      ————————————————
                                                                                                      CreditCard
      Td Bank Usa/targetcred                               X                                                                                                                                                                         $3,859.00
      Po Box 673
      Minneapolis, MN 55440

      ———————————————————————————————————————————————————




        Sheet no. 2 of 2 continuation sheets attached                                                                                                                             Subtotal'                                   $       4,161.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $      29,302.66
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
Case 15-20714             Doc 1      Filed 06/15/15 Entered 06/15/15 14:25:18                             Desc Main
                                      Document     Page 16 of 42
B 6G (Official Form 6G) (12/07)

In re Armando Barron,                                                        Case No.
                                             Debtor                                          (if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 Check this box if debtor has no executory contracts or unexpired leases.


                                                              DESCRIPTION OF CONTRACT OR LEASE AND
      NAME AND MAILING ADDRESS,                                NATURE OF DEBTOR’S INTEREST. STATE
          INCLUDING ZIP CODE,                                 WHETHER LEASE IS FOR NONRESIDENTIAL
OF OTHER PARTIES TO LEASE OR CONTRACT.                           REAL PROPERTY. STATE CONTRACT
                                                              NUMBER OF ANY GOVERNMENT CONTRACT.

                                                            Description: month to month tenancy at current address
Eulises Raya
318 Locust #1
                                                            Nature of Debtor's Interest: lessee
Elgin, IL 60123
          Case 15-20714            Doc 1       Filed 06/15/15 Entered 06/15/15 14:25:18     Desc Main
                                                Document     Page 17 of 42
B 6H (Official Form 6H) (12/07)

In re Armando Barron,                                                   Case No.
                                                   Debtor                               (if known)


                                               SCHEDULE H - CODEBTORS
 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                                NAME AND ADDRESS OF CREDITOR

                                                             Td Bank Usa/targetcred
Laura Reyna
                                                             Account No.: 5785
13427 Mary Lee Court
                                                             Po Box 673
Plainfield, IL 60585
                                                             Minneapolis, MN 55440
                  Case 15-20714            Doc 1          Filed 06/15/15 Entered 06/15/15 14:25:18                         Desc Main
                                                           Document     Page 18 of 42
 Fill in this information to identify your case:


 Debtor 1            Armando Barron
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      Northern District of Illinois
 United States Bankruptcy Court for : ______________________        _

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            
                                                                      X
                                                                        Employed                                       Employed
    employers.                                                         Not employed                                   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 Forklift Operator
                                                                    __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            ASG Staffing INC
                                                                    __________________________________           __________________________________


                                         Employer’s address         231 West Grand Ave
                                                                   _______________________________________     ________________________________________
                                                                     Number Street                              Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    Bensenville, IL 60106
                                                                   _______________________________________     ________________________________________
                                                                    City            State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______
                                                                          3 years                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     1,992.00               0.00
                                                                                             $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________          0.00
                                                                                                                 + $____________

 4. Calculate gross income. Add line 2 + line 3.                                       4.     1,992.00
                                                                                             $__________             0.00
                                                                                                                    $____________



Official Form B 6I                                             Schedule I: Your Income                                                        page 1
                 Case 15-20714                        Doc 1            Filed 06/15/15 Entered 06/15/15 14:25:18                                        Desc Main
                                                                        Document     Page 19 of 42
Debtor 1         Armando Barron
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.      1,992.00
                                                                                                                          $___________           0.00
                                                                                                                                                $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.      390.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5d. Required repayments of retirement fund loans                                                            5d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5e. Insurance                                                                                               5e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5f. Domestic support obligations                                                                            5f.      433.33
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5g. Union dues                                                                                              5g.
                                                                                                                          0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                        + $____________          0.00
                                                                                                                                              + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      823.33
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      1,168.67
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                              0.00                   0.00
                                                                                                                         $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                          0.00                   0.00
                                                                                                                         $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8e. Social Security                                                                                         8e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                           0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                            8g.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.       0.00
                                                                                                                        + $____________          0.00
                                                                                                                                              + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                          1,168.67
                                                                                                                         $___________     +      0.00
                                                                                                                                                $_____________    1,168.67
                                                                                                                                                               = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                           0.00
                                                                                                                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                12.
                                                                                                                                                                       1,168.67
                                                                                                                                                                      $_____________
                                                                                                                                                                      Combined
                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     
     X
           No.
          Yes. Explain:


Official Form B 6I                                                                 Schedule I: Your Income                                                                page 2
                   Case 15-20714              Doc 1         Filed 06/15/15 Entered 06/15/15 14:25:18                             Desc Main
                                                             Document     Page 20 of 42
  Fill in this information to identify your case:

  Debtor 1          Armando Barron
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                       Northern District of Illinois
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for : ______________________        _                                    expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X
        No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

               
               X
                     No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 
                                            X
                                                Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                    son                                      9                 No
                                                                                   _________________________                ________
   names.                                                                                                                                     Yes

                                                                                   daughter
                                                                                   _________________________                5
                                                                                                                            ________          No
                                                                                                                                              Yes

                                                                                   daughtr
                                                                                   _________________________                17
                                                                                                                            ________      
                                                                                                                                          X
                                                                                                                                               No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                            
                                            X
                                                No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               750.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.      0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.      0.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.      0.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.      0.00
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1
                 Case 15-20714                Doc 1        Filed 06/15/15 Entered 06/15/15 14:25:18                     Desc Main
                                                            Document     Page 21 of 42
 Debtor 1        Armando Barron
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     180.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     0.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     146.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      350.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      100.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     50.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     0.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      300.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     50.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    45.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
              child support per court order to debtor's ex wife
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



 Official Form B 6J                                            Schedule J: Your Expenses                                                   page 2
                 Case 15-20714                Doc 1       Filed 06/15/15 Entered 06/15/15 14:25:18                         Desc Main
                                                           Document     Page 22 of 42
 Debtor 1        Armando Barron
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.     0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                         1,971.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                          1,168.67
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.      1,971.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                          -802.33
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
      
      X
          Yes.     Explain here:
                 debtor must start making payments on debt to GAL in divorce case




 Official Form B 6J                                           Schedule J: Your Expenses                                                       page 3
                 Case 15-20714             Doc 1       Filed 06/15/15 Entered 06/15/15 14:25:18                          Desc Main
                                                        Document     Page 23 of 42
B 6 Summary (Official Form 6 - Summary) (12/14)



                                    UNITED STATES BANKRUPTCY COURT
                                                    ____________________________
                                                       NORTHERN DISTRICT OF ILLINOIS



      Armando Barron
In re ___________________________________,                                                Case No. ___________________
                 Debtor
                                                                                                  7
                                                                                          Chapter ____________

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                                                    $             0.00

 B - Personal Property                                                                $       6,406.00

 C - Property Claimed
     as Exempt

 D - Creditors Holding                                                                                      $                0.00
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $           4,639.48
     Priority Claims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $         29,302.66
     Nonpriority Claims


 G - Executory Contracts and
     Unexpired Leases


 H - Codebtors


 I - Current Income of                                                                                                              $        1,168.67
     Individual Debtor(s)

 J - Current Expenditures of Individual                                                                                             $        1,971.00
     Debtors(s)

                                          TOTAL                                       $        6,406.00 $             33,942.14
                                                                         0
    Case 15-20714                  Doc 1        Filed 06/15/15 Entered 06/15/15 14:25:18                             Desc Main
B 7 (Official Form 7) (04/13)
                                                 Document     Page 24 of 42



                          UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF ILLINOIS


In re: Armando Barron                                                   Case No
                                 Debtor                                                             (if known)



                                          STATEMENT OF FINANCIAL AFFAIRS

        1. Income from employment or operation of business
None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                            AMOUNT                                          SOURCE

            Debtor:
                         Current Year (2015):
                         $8,333.88                                        ASG through 05/08


                         Previous Year 1 (2014):
                         $21,764.00                                       ASG Staffing


                         Previous Year 2 (2013):
                         $21,353.00                                       ASG staffing

            Joint Debtor:
                      N/A


            2. Income other than from employment or operation of business

None        State the amount of income received by the debtor other than from employment, trade, profession, operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
            joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
            must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)

                                AMOUNT                                        SOURCE




            3. Payments to creditors

            Complete a. or b., as appropriate, and c.

None        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
    Case 15-20714             Doc 1        Filed 06/15/15 Entered 06/15/15 14:25:18                                Desc Main
                                            Document     Page 25 of 42
                                                                                                                                    2

        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
         this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
         as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
         agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                    PAYMENTS               PAID                    STILL OWING


         Debtor:

None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
         any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                     PAYMENTS/              PAID OR                STILL
                                                                     TRANSFERS              VALUE OF               OWING
                                                                                            TRANSFERS




None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case
        to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
         a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATE OF                AMOUNT                 AMOUNT
         AND RELATIONSHIP TO DEBTOR                                  PAYMENT                PAID                   STILL OWING




         4. Suits and administrative proceedings, executions, garnishments and attachments

None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
        preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
         information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
         and a joint petition is not filed.)separated and a joint petition is not filed.)

         CAPTION OF SUIT                               NATURE OF                  COURT OR                   STATUS OR
         AND CASE NUMBER                               PROCEEDING                 AGENCY AND                 DISPOSITION
                                                                                  LOCATION

         Debtor:
         IRMO Laura Reyna and Armando                divorce                     16th Judicial Circuit      post-judgment
         Barron                                                                  Kane county, St.
         Case Number: 14D155                                                     Charles IL

         Capital one Bank v Armando Baron            Small Claims                16th Judicial circuit      judgment
         Case Number: 10SC491                        collection                  Geneva, Kane County

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.
    Case 15-20714           Doc 1        Filed 06/15/15 Entered 06/15/15 14:25:18                               Desc Main
                                          Document     Page 26 of 42
                                                                                                                                 3

                                                                              IL

       Midland Funding LLC v. Armando              small claims collection    16th Judicial Circuit       judgment
       Baron                                                                  Geneva, Kane County
       Case Number: 10 SC3178                                                 IL

       Target National Bank v. Armando             small claims               16th Judicial Circuit       judgment
       Barron                                                                 Geneva, Kane County,
       Case Number: 2012SC3117                                                IL


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
      year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                         DATE OF                AND VALUE
       BENEFIT PROPERTY WAS SEIZED                                 SEIZURE                OF PROPERTY




       5. Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                  DATE OF REPOSSESSION,                     DESCRIPTION
       NAME AND ADDRESS                           FORECLOSURE SALE,                         AND VALUE
       OF CREDITOR OR SELLER                      TRANSFER OR RETURN                        OF PROPERTY




       6. Assignments and receiverships

None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)

                                                                                          TERMS OF
       NAME AND ADDRESS                                            DATE OF                ASSIGNMENT
       OF ASSIGNEE                                                 ASSIGNMENT             OR SETTLEMENT




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

                                          NAME AND LOCATION                                      DESCRIPTION
       NAME AND ADDRESS                   OF COURT                            DATE OF            AND VALUE
       OF CUSTODIAN                       CASE TITLE & NUMBER                 ORDER              OF PROPERTY
    Case 15-20714          Doc 1        Filed 06/15/15 Entered 06/15/15 14:25:18                              Desc Main
                                         Document     Page 27 of 42
                                                                                                                               4




       7. Gifts

None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
      except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
       and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
       chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                  RELATIONSHIP                                          DESCRIPTION
       OF PERSON                         TO DEBTOR,                         DATE               AND VALUE
       OR ORGANIZATION                   IF ANY                             OF GIFT            OF GIFT




       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                     DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                    LOSS WAS COVERED IN WHOLE OR IN PART                              DATE
       PROPERTY                        BY INSURANCE, GIVE PARTICULARS                                    OF LOSS

       Debtor
       $2300.00 from Elgin IL          debtor was struck by a police vehicle                             07/2014
       Police department for repairs   money was used to repair debtor's vehicle, 2004 Chevy
       to debtor's motor vehicle       Cavalier
       Value: $2,300.00



       9. Payments related to debt counseling or bankruptcy

None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
      consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
       within one year immediately preceding the commencement of this case.

                                                DATE OF PAYMENT,                          AMOUNT OF MONEY OR
       NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
       OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY

       Debtor:
       Serrano , Low & Hanson                   09/2014                                  $500.00
       431 Williamsburg AVe                     11/2014                                  $100.00
       Geneva, IL 60134                         02/2015                                  $100.00
                                                03/2015                                  $100.00
                                                05/2015                                  $500.00
                                                12/2014                                  $100.00
                                                                                         1500 flat fee




       10. Other transfers
    Case 15-20714          Doc 1        Filed 06/15/15 Entered 06/15/15 14:25:18                               Desc Main
                                         Document     Page 28 of 42
                                                                                                                                  5


None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
      the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                              DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
       RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
      to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                          DATE(S) OF           AMOUNT OF MONEY OR DESCRIPTION
       NAME OF TRUST OR OTHER                             TRANSFER(S)          AND VALUE OF PROPERTY OR DEBTOR’S
       DEVICE                                                                  INTEREST IN PROPERTY




       11. Closed financial accounts

None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

                                                                  TYPE OF ACCOUNT, LAST FOUR                   AMOUNT AND
       NAME AND ADDRESS                                           DIGITS OF ACCOUNT NUMBER,                    DATE OF SALE
       OF INSTITUTION                                             AND AMOUNT OF FINAL                          OR CLOSING
                                                                  BALANCE




       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                     NAMES AND ADDRESSES               DESCRIPTION                  DATE OF
       OF BANK OR                           OF THOSE WITH ACCESS              OF                           TRANSFER
       OTHER DEPOSITORY                     TO BOX OR DEPOSITORY              CONTENTS                     OR SURRENDER,
                                                                                                           IF ANY




       13. Setoffs

None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
    Case 15-20714          Doc 1        Filed 06/15/15 Entered 06/15/15 14:25:18                               Desc Main
                                         Document     Page 29 of 42
                                                                                                                                  6

      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                              DATE OF                        AMOUNT
       NAME AND ADDRESS OF CREDITOR                                           SETOFF                         OF SETOFF




       14. Property held for another person


None   List all property owned by another person that the debtor holds or controls.


       NAME AND ADDRESS                           DESCRIPTION AND
       OF OWNER                                   VALUE OF PROPERTY                        LOCATION OF PROPERTY




       15. Prior address of debtor

None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises
      which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
       filed, report also any separate address of either spouse.

       ADDRESS                                      NAME USED                               DATES OF OCCUPANCY

       Debtor:
       5 Longwood Place # 30                      Armando Barron                           2014
       Elgin, IL 60123

       13427 Mary lee Court                       Armando Barron                           2013
       Plainfield, IL 60585



       16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

       NAME




       17. Environmental Information.

       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.
    Case 15-20714          Doc 1        Filed 06/15/15 Entered 06/15/15 14:25:18                               Desc Main
                                         Document     Page 30 of 42
                                                                                                                                  7


       Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.

None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental
      unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
       governmental unit, the date of the notice, and, if known, the Environmental Law:

       SITE NAME                            NAME AND ADDRESS     DATE OF                                  ENVIRONMENTAL
       AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                   LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

       SITE NAME                           NAME AND ADDRESS     DATE OF                                   ENVIRONMENTAL
       AND ADDRESS                         OF GOVERNMENTAL UNIT NOTICE                                    LAW




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
      respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
       party to the proceeding, and the docket number.

       NAME AND ADDRESS                                                                             STATUS OR
       OF GOVERNMENTAL UNIT                                           DOCKET NUMBER                 DISPOSITION




       18 . Nature, location and name of business

None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
      and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
       which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
       the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities, within six years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities within six years immediately preceding the commencement of this case.


                           LAST FOUR DIGITS
                           OF SOCIAL-SECURITY                                                                   BEGINNING
                           OR OTHER INDIVIDUAL                                                                  AND
                           TAXPAYER-I.D. NO                                               NATURE OF             ENDING
       NAME                (ITIN)/ COMPLETE EIN             ADDRESS                       BUSINESS              DATES
    Case 15-20714              Doc 1        Filed 06/15/15 Entered 06/15/15 14:25:18                                Desc Main
                                             Document     Page 31 of 42
                                                                                                                                     8




None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
         defined in 11 U.S.C. § 101.

          NAME                                      ADDRESS




           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

          NAME AND ADDRESS                                                                       DATES SERVICES RENDERED




None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
         case have audited the books of account and records, or prepared a financial statement of the debtor.

          NAME                                      ADDRESS                                      DATES SERVICES RENDERED




None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
         books of account and records of the debtor. If any of the books of account and records are not available, explain.

          NAME                                                 ADDRESS




None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
         financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

          NAME AND ADDRESS                                                                    DATE ISSUED




          20. Inventories
    Case 15-20714           Doc 1        Filed 06/15/15 Entered 06/15/15 14:25:18                               Desc Main
                                          Document     Page 32 of 42
                                                                                                                              9

None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
      taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                             DOLLAR AMOUNT
                                                                                             OF INVENTORY
                                                                                             (Specify cost, market or other
       DATE OF INVENTORY                         INVENTORY SUPERVISOR                        basis)




None   b. List the name and address of the person having possession of the records of each of the inventories reported
      in a., above.

                                                 NAME AND ADDRESSES
                                                 OF CUSTODIAN
       DATE OF INVENTORY                         OF INVENTORY RECORDS




       21. Current Partners, Officers, Directors and Shareholders

None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
      partnership.

       NAME AND ADDRESS                            NATURE OF INTEREST                        PERCENTAGE OF INTEREST




None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
      directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
       corporation.

                                                                                             NATURE AND PERCENTAGE
       NAME AND ADDRESS                            TITLE                                     OF STOCK OWNERSHIP




       22. Former partners, officers, directors and shareholders

None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
      preceding the commencement of this case.

       NAME                                      ADDRESS                                     DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
      within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                    TITLE                                   DATE OF TERMINATION
Case 15-20714   Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18   Desc Main
                         Document     Page 33 of 42
    Case 15-20714              Doc 1          Filed 06/15/15 Entered 06/15/15 14:25:18                                              Desc Main
                                               Document     Page 34 of 42
                                                                                                                                                10

       23 . Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
      including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                                        AMOUNT OF MONEY
       OF RECIPIENT,                                      DATE AND PURPOSE                                   OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                             OF WITHDRAWAL                                      AND VALUE OF PROPERTY




       24. Tax Consolidation Group.

None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
      consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                                                    TAXPAYER-IDENTIFICATION NUMBER (EIN)




       25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PENSION FUND                                                         TAXPAYER-IDENTIFICATION NUMBER (EIN)



                                                                    ******


       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
       and any attachments thereto and that they are true and correct.



                                                                                 Signature
       Date June 15, 2015                                                        of Debtor         s/Armando Barron

                                                                                 Signature of
                                                                                 Joint Debtor
       Date                                                                      (if any)

                                                           0 continuation sheets attached


          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
            Case 15-20714        Doc 1    Filed 06/15/15 Entered 06/15/15 14:25:18             Desc Main
FB 201A (Form 201A) (6/14)
                                           Document     Page 35 of 42


                             UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have
the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay
your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
           Case 15-20714 Doc 1 Filed 06/15/15 Entered 06/15/15 14:25:18                            Desc Main
         Form B 201A, Notice to Consumer Debtor(s) Page 36 of 42
                                      Document                                                          Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can
prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the
bankruptcy court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $75 administrative fee: Total fee $310)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both.
All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney
General acting through the Office of the United States Trustee, the Office of the United States Attorney, and other
components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
Case 15-20714   Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18   Desc Main
                         Document     Page 37 of 42
Case 15-20714   Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18   Desc Main
                         Document     Page 38 of 42
Case 15-20714   Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18   Desc Main
                         Document     Page 39 of 42
Case 15-20714   Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18   Desc Main
                         Document     Page 40 of 42
Case 15-20714   Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18   Desc Main
                         Document     Page 41 of 42
Case 15-20714   Doc 1   Filed 06/15/15 Entered 06/15/15 14:25:18   Desc Main
                         Document     Page 42 of 42
